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FOR THE UDIC|M. PANEL ON

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DOCKETNO. 1203 FlLEo

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IAL PANEL ONMULTfDISTRICTLII'IGATION

IN RE DIET DR UG'S (PHENTERMINE/FENFL URAMINE/
DEXFENFL URAMINE) PROD UCTS LIABILITY LITIGA TION

(SEE A TTA CHED SCHED ULE)

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CONDITIONAL TRANSFER ORDER (CTO-140)

On Decernber 10, 1997, the Panel transferred nine civil actions to the United States District
Court for the Eastern District of Pennsylvania for coordinated or consolidated pretrial
proceedings pursuant to 28 U.S.C. § 1407. Since that time, 9,241 additional actions have been
transferred to the Eastern District of Pennsylvania. With the consent of that court, all such
actions have been assigned to the Honorable I-Iarvey Bartle III.

lt appears that the actions on this conditional transfer order involve questions of fact Which are
common to the actions previously transferred to the Eastern District of Pennsylvania and

assigned to Judge Ba;rtle.

Pursuant to Rule 7.4 of the Rules of Procedure of the J udicial Panel on Multidistrict Litigation,
199 F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the
Eastern District of Pennsylvania for the reasons stated in the order of December 10, 1997, (1997
WL 774-929), as amended on Ja.nuary 6, 1998, cited at 990 F.Supp. 834 (J.P.M.L. 1998), and,
with the consent of that court, assigned to the Honorable I-Iarvey Bartle IH.

This order does not become effective until it is filed in the Office of the Clerk of the United
States District Court for the Eastern District of Pennsylvania. The transmittal of this order to
said Clerk shall be stayed fifteen (15) days from the entry thereof and if any party files a notice of
opposition With the Clerk of the Panel within this fifteen (15) day period, the stay will be

continued until further order

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FOR THE PANEL.'

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Case 2:05-cV-02254-.]DB-tmp Document 17 Filed 06/13/05 Page 2 of 6 Page|D 24

SCHEDULE CTO-140 ~ TAG ALONG ACTIONS
DOCKET NO. 1203
IN RE DIET DRUGS (PHENTERMINE/FENFLURAMINE/DEXFENFLURAMINE)
PRODUCTS LIABILITY LITIGATION

DIST. DIV. C.A. # CASE CAPTION
CALIFORNIA CENTRAL

CAC 2 04-4852 Lynn Weston v. American Home Products Corp., et al.
GEORGIA NORTHERN

GAN l 05-437 Garland-Adrienne Thornton v. Wyeth, Inc., et al.

GAN 3 05-24 Carrie Richarcls, etc. v. Tanner Medical Center, Inc., et al.
ILLINOIS NORTHERN

ILN l 05-|483 Evon Ott v. American Home Products Corp., et al.

 

OKLAHOMA NORTI-IERN
OKN 4 04-365 Stephanie Bames v. Wyeth, et al.

NNESSEE WESTERN
TNW 2 05-2254 Eula Artison, et al. v. Wyeth Corp., et al.

Case 2:05-cV-O2254-.]DB-tmp Document 17 Filed 06/13/05 Page 3 of 6 Page|D 25

UNlTED STATES D|STRICT COURT

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PH|LADELPH|A, PA 19106-1797

June 7, 2005

MtCHAEL E. KUNZ
CLERK oF CouRT

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U.S. District Court

Western District of Tennessee
Robert R. Di Trolio, Clerk

242 Clifford Davis Federal Building
167 North Main Street

Memphis, TN 38103

Re: Diet Drugs MDL 1203
C.A. 2:05~2254 (Artison, et al)

Dear Clerk:

Enclosed is a certified copy (or copies) of an order of
the Judicial Panel on Multidistrict Litigation directing the
transfer of the above referenced civil action (s) to this
district under 28 U.S.C. Section 1407.

Panel Rule 19(a) has been suspended in this litigation.
Please provide only a certified chv of the docket entries and a
certified copy of the complaint toqether with any amendments to
the complaint.

DO NOT FORWARD THE ORIGINAL RECORD(S). (See Pretrial
Order #2 enclosed)

Should you have any questions regarding this request,
please call me at the number listed above.

Very truly yours,

MICHAEL E. KUNZ
Clerk of Conrt\

By Sharon Carter
MDL Coordinator

    

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CV-02254 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

ESSEE

 

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Case 2:05-cV-02254-.]DB-tmp Document 17 Filed 06/13/05 Page 6 of 6 Page|D 28

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Honorable J. Breen
US DISTRICT COURT

